          Case 1:18-cv-03083-ER Document 35 Filed 06/18/18 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


UNITED SPECIALTY INSURANCE                        :
COMPANY,                                          :
         Plaintiff,                               :   Civil Action – Complaint for Declaratory
                                                  :   Judgment
              v.                                  :
                                                  :   No. 1:18-cv-03083-ER
LUX MAINTENANCE & REN. CORP.,                     :
CORNELL UNIVERSITY,                               :   ANSWER TO COUNTERCLAIMS
ROCKEFELLER UNIVERSITY, THE                       :
SOCIETY OF THE NEW YORK                           :
HOSPITAL, MEMORIAL HOSPITAL                       :
FOR CANCER AND ALLIED DISEASES,                   :
and MANHATTAN EYE EAR &                           :
THROAT HOSPITAL                                   :
                                                  :
              Defendants.                         :



       Plaintiff United Specialty Insurance Company (“United”), by and through its undersigned

counsel, hereby submits this Answer to the Counterclaims (ECF No. 29, the “Counterclaim”)

filed by Defendants Cornell University (“Cornell”), Rockefeller University (“Rockefeller”), The

Society of the New York Hospital (“Society”), Memorial Hospital for Cancer and Allied

Diseases (“Memorial”), and Manhattan Eye Ear & Throat Hospital (“MEETH” and, together

with Cornell, Rockefeller, Society and Memorial, the “Hospital Defendants”), and responds to

the allegations set forth in the Counterclaim as follows:

                         AS AND FOR A FIRST COUNTERCLAIM

1. Paragraph 1 of the Counterclaim is a legal conclusion to which no response is required,

   except that United admits that it issued a policy of insurance naming Lux Maintenance &

   Ren. Cop. (“Lux”) as the named insured and that such policy was in force on the date of the




                                                 1
          Case 1:18-cv-03083-ER Document 35 Filed 06/18/18 Page 2 of 3



   referenced incidents. To the extent a response is required to the legal conclusions set forth in

   Paragraph 1 of the Counterclaim, United denies the allegations set forth therein.

2. United denies the allegations set forth in Paragraph 2 of the Counterclaim. The Hospital

   Defendants are not parties to or mentioned in the written contract entered into by Lux and

   therefore it is denied that Lux agreed to procure additional insured status for the Hospital

   Defendants.

3. United denies the allegations set forth in Paragraph 3 of the Counterclaim and respectfully

   refers the Court to the policy referenced therein for a full and accurate statement of its

   contents.

4. Paragraph 4 of the Counterclaim is a legal conclusion to which no response is required. To

   the extent a response is required, United hereby denies the allegations set forth therein.

   Because the Hospital Defendants are not parties to or mentioned in the written contract

   entered into by Lux, they do not qualify as additional insureds under the referenced policy of

   insurance.

5. United denies the allegations set forth in Paragraph 5 of the Counterclaim.

                       AS AND FOR A SECOND COUNTERCLAIM

6. United denies the allegations contained in Paragraph 6 of the Counterclaim (erroneously

   labeled as Paragraph 1 of the Hospital Defendants’ Second Counterclaim).




                                                2
          Case 1:18-cv-03083-ER Document 35 Filed 06/18/18 Page 3 of 3



   WHEREFORE, by reason of the foregoing, United requests that this Court dismiss the

Counterclaims in their entirety and with prejudice, and requests such other and further relief as

this Court may deem proper.



                     BY: _/S/ RICHARD W. TROTTER______________________ ____
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DATED: JUNE 18, 2018




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